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6
7                         IN THE UNITED STATES DISTRICT COURT
8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10     UNITED STATES OF AMERICA,             )   CASE NO. 15-189 GEB
                                             )
11                         Plaintiff,        )   STIPULATION AND ORDER
                                             )   CONTINUING STATUS CONFERENCE
12     v.                                    )
                                             )   Date:   July 26, 2019
13     JEREMY WARREN,                        )   Time:   9:00 a.m.
                                                 Judge: Hon. Garland E.
14                         Defendant.        )   Burrell, Jr.
                                             )
15                                           )
                                             )
16                                           )
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19
20           Defendant Jeremy Warren, his undersigned counsel and
21    plaintiff, United States of America, hereby stipulate through          their
22    respective attorneys to continue the status conference previously          set
23    for July 12, 2019 to July 26, 2019 and that date is        available
24    with the Court.
25            The parties are engaged in negotiations that might result in

     a resolution of this matter, obviating the need for a trial. The time is


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             necessary to complete research and investigation.

        The parties further agree that the above reason constitutes good cause to

        exclude the time until the July 26, 2019 status conference.      Time should

         be excluded pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A)

         and (B)(iv), for the reasons stated above.
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                                        Respectfully submitted
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         Dated: July 11, 2019            /s/ Shari Rusk
    7                                     Attorney for Defendant
                                         Jeremy Warren
    8
    9
10                                    /s/ Michael Beckwith
                                        Michael Beckwith
11                                     Assistant United States Attorney
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13
14                                         ORDER
15          It is so ordered.
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            DATED: July 11, 2019
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